                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        *
                                                *
       v.                                       *      CASE NO: 1:21-cr-0175-3 (TJK)
                                                *
ZACHARY REHL,                                   *
         Defendant                              *


                                            ********
                                            ORDER

       Upon consideration of the Zachary Rehl’s Motion to Dismiss Indictment On First Amendment

Grounds, good cause having been shown, it is _________ day of ________________, 2022, by the

United States District Court for the District of Columbia,

       ORDERED:

       1) That the Motion is hereby GRANTED.




                                              HONORABLE TIMOTHY J. KELLY
                                              UNITED STATES DISTRICT JUDGE
